       Case 2:23-cv-02102-NR      Document 46     Filed 10/08/24   Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
 WILLIAM PARKER,                          )
                                          )
              Plaintiff,                  )    Hon. J. Nicholas Ranjan
                                          )
              v.                          )    2:23-cv-2102-NR
                                          )
 EDWARD GAINEY, et al.,                   )    JURY TRIAL DEMANDED
                                          )
              Defendants.                 )

 DEFENDANT EDWARD GAINEY’S MOTION TO DISMISS PLAINTIFF’S
SECOND AMENDED COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)
      Defendant Edward Gainey (“Mayor Gainey”) respectfully submits this Motion

to Dismiss all claims filed against him by Plaintiff William Parker (“Mr. Parker”) in

his Second Amended Complaint at ECF No. 43.

      1.     Mr. Parker filed the instant action against Mayor Gainey and other

defendants alleging violations of his constitutional rights pursuant to 42 U.S.C. §

1983. ECF No. 1.

      2.     On September 24, 2024, Mr. Parker filed a Second Amended Complaint

setting forth the following constitutional claims against Mayor Gainey: (1) Fourth

Amendment malicious prosecution; (2) First Amendment retaliation; and (3) civil

conspiracy. ECF No. 43, generally.

      3.     All of Mr. Parker’s claims against Mayor Gainey must be dismissed for

failure to state a claim upon which relief can be granted.

      4.     As a threshold and dispositive matter, Mr. Parker fails to adequately

plead that Mayor Gainey was personally involved in any of the constitutional

violations he alleges.

                                          1
       Case 2:23-cv-02102-NR      Document 46     Filed 10/08/24    Page 2 of 3




      5.     However, even if Mr. Parker has adequately pleaded Mayor Gainey’s

personal involvement in a constitutional violation, his claims nonetheless fail as a

matter of law.

      6.     First, Mr. Parker fails to show that Mayor Gainey “initiated criminal

proceedings” against him, which is required to state a claim for malicious prosecution.

      7.     The facts in Mr. Parker’s Second Amended Complaint and the exhibit

attached to it show that Defendant Kerry Ford (“Detective Ford”) initiated the

criminal proceedings against Mr. Parker. Harvard v. Cesnalis, 973 F.3d 190, 205 n.7

(3d Cir. 2020).

      8.     The Second Amended Complaint is devoid of any allegations that Mayor

Gainey participated in or otherwise influenced the initiation of criminal proceedings

against Mr. Parker.

      9.     Second, Mr. Parker fails to plead facts showing that Mayor Gainey

engaged in any of the alleged retaliatory acts described in Mr. Parker’s Second

Amended Complaint.

      10.    Third and finally, Mr. Parker fails to state a claim for civil conspiracy

against Mayor Gainey under Section 1983 and 1985.

      11.    Mr. Parker does not plead sufficient facts to show that Mayor Gainey

conspired with co-defendants to deprive Mr. Parker of any constitutional rights or

that any alleged conspiracy was based on Mr. Parker’s race or class.




                                          2
       Case 2:23-cv-02102-NR     Document 46     Filed 10/08/24      Page 3 of 3




      12.    For these reasons, Mayor Gainey respectfully requests that this Court

dismiss all claims against him in Mr. Parker’s Second Amended Complaint, as

explained in further detail in his brief accompanying this motion.

      13.    A proposed order is attached.



                                              Respectfully submitted,

                                              KRYSIA KUBIAK
                                              City Solicitor

                                              /s/ Hillary M. Weaver
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                                          3
